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             IN THE UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF ARKANSAS
                      WESTERN DIVISION

TERESA BLOODMAN, Parent and Natural Guardian
of John Doe, a minor child                                        PLAINTIFF

vs.                           No. 4:11-cv-00818-JMM

DR. TOM KIMBRELL, Arkansas Department of Education,
Individually Named and Official Capacity;
DR. JERRY GUESS, Superintendent, Pulaski County Special
School District, Individually Named and Official Capacity;
DR. TAMEKIA BROWN, Principal, Maumelle High School,
Individually Named and Official Capacity;
MICHAEL SHOOK, Coach, Maumelle High School,
Individually Named and Official Capacity;
GROVER GARRISON, Coach, Maumelle High School,
Individually Named and Official Capacity;
SHERMAN COX, Athletic Director, Maumelle High School,
Individually Named and Official Capacity               DEFENDANTS

 MOTION FOR EXTENSION OF TIME TO FILE RESPONSE AND
  BRIEFTO DEFENDANTS’ RENEWED MOTION TO DISMISS
                STATE DEFENDANTS

       Comes now the Plaintiff and moves this Honorable Court for an

extension of time to file her response and brief to the Defendants’ Renewed

Motion to Dismiss State Defendants and as the basis for said motion states:

       1.    Defendants filed a Renewed Motion to Dismiss State

Defendants on or about November 25, 2013.

       2.    That Plaintiff’s response and brief are due to be filed in this

matter on December 9, 2013.


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         3.   That counsel needs additional time to complete and file said

response and brief due to a number of factors since the filing of the

Defendants’ Renewed Motion to Dismiss State Defendants, including but

not limited to the preparation of other appellate briefs with the Arkansas

Supreme Court, scheduled court appearances and trials, illness of counsel’s

paralegal, and the recent inclement winter storm in the Little Rock

metropolitan area.

         4.   That the undersigned is a solo practitioner and this does not

have the assistance of other in-house counsel to minimize the workload.

         5.   The undersigned will not be able to meet the deadline due to

other previously scheduled state court appearances, preparation of scheduled

criminal trials, and other briefs due in the state appellate courts, of which

these dates are running concurrent as a result of the aforementioned in

paragraph three herein.

         6.   The undersigned is very grateful and appreciates the Court for

understanding the present conflicts.

         7.   It is expected that the undersigned will be able to complete and

file said response and brief with the extension of an additional twenty (20)

days.

         8.   That movant makes this motion in good faith and is not made


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for the purposes of any delay or other illegitimate purposes.

      9.      That this motion is in the best interest of justice and will not

affect the rights of the parties herein.

      10.     That on this date, due to the inclement weather, efforts have

been unsuccessful in contacting opposing counsel prior to filing this motion.

            WHEREFORE, the undersigned respectfully requests this Court

to grant this motion for an extension of time of twenty ( 20) days or until

December 29, 2013, in which to complete and file Plaintiff’s response and

brief and for all other proper and just relief.




                                                  Respectfully submitted,


                                                  /s/Teresa Bloodman
                                                  Teresa Bloodman #2005055
                                                  Attorney for Plaintiff
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                     CERTIFICATE OF SERVICE

I, Teresa Bloodman, hereby certify that on this 6th day of December, 2013, I
electronically filed the foregoing with the Clerk of Court using the CM/ECF
System, which will send notification of such filing to all CM/ECF
participating counsel of record listed below:

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                                                  /s/Teresa Bloodman




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